                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )            No. 3:08-CR-143
                                                    )            (VARLAN/GUYTON)
 NATHANIEL SMITH, JR.,                              )
                                                    )
                        Defendant.                  )


                                       DETENTION ORDER

                This matter came before the undersigned on October 20, 2008, for a scheduled

 detention hearing. Assistant United States Attorney Tracee Plowell was present representing the

 government. Attorney Paula Voss was present representing Defendant Nathaniel Smith, Jr. The

 defendant was also present.

                In the Court’s oral ruling, a complete review and analysis of the parties’ positions,

 issues, and facts were stated. That specific and detailed oral ruling is attached hereto and made a

 part of this Order as if stated herein verbatim.

                For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that the

 government has met the burden of establishing by clear and convincing evidence that Defendant

 Smith’s release would pose a danger to the community. Furthermore, the Court finds that there are

 no conditions or combination of conditions of release that would reasonably assure the Court that

 Defendant would not pose a danger to the safety of any other person or the community.




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                It is therefore ORDERED that the defendant, Nathaniel Smith, Jr., be detained. He

 is committed to the custody of the Attorney General or his designated representative for confinement

 in a correction facility separate to the extent practicable from persons awaiting sentencing or serving

 sentences or being held in custody pending appeal. The Defendant shall be afforded a reasonable

 opportunity for private consultation with defense counsel. Upon order of this Court or a court of the

 United States or upon request of the attorney for the government, the person in charge of the

 corrections facility shall deliver the Defendant to the United States Marshals for the purpose of an

 appearance in connection with a court proceeding.

                IT IS SO ORDERED.

                                                       ENTER:



                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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